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 5
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 6 United States of America

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 1:12CR0234 LJO-SKO
12                                 Plaintiff,              STIPULATION REGARDING
                                                           CONTINUANCE; ORDER
13                 v.
14   ERNESTINA VILLAREAL-GUERRERO,
15                                 Defendant.
16

17                                              STIPULATION
18           Plaintiff United States of America, by and through its counsel of record, and defendants, by
19 and through their counsel of record, hereby stipulate as follows:
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             1.     By previous order, the above-captioned matter was set for sentencing on February 25,
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     2013.
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             2.     By this stipulation, the parties now move to continue the sentencing hearing date until
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24 March 25, 2013, at 8:30 a.m. to effectuate the terms of the plea agreement.

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          Case 1:12-cr-00234-LJO-SKO Document 147 Filed 02/25/13 Page 2 of 2


     IT IS SO STIPULATED.
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 2 DATED:       February 25, 2013.   Respectfully submitted,
 3                                   BENJAMIN B. WAGNER
                                     United States Attorney
 4

 5                                   /s/ Karen A. Escobar___________________
                                     KAREN A. ESCOBAR
 6                                   Assistant United States Attorney
 7

 8
     DATED:     February 25, 2013.
 9
                                     /s/ Mark Broughton _____________
10                                   MARK BROUGHTON
                                     Counsel for Defendant
11                                   ERNESTINA VILLAREAL-GUERRERO
12

13

14                                          ORDER
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18 IT IS SO ORDERED.

19
       Dated:   February 25, 2013                                       /s/ Lawrence J. O’Neill
20                                                                    UNITED STATES DISTRICT JUDGE
                                                DEAC_Signature-END:




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